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                EXHIBIT B
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1    Greg D. Andres
     Antonio J. Perez-Marques
2    Craig T. Cagney
      (admitted pro hac vice)
3
     DAVIS POLK & WARDWELL LLP
4    450 Lexington Avenue
     New York, New York 10017
5    Telephone: (212) 450-4000
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6    Email: greg.andres@davispolk.com
              antonio.perez@davispolk.com
7
              craig.cagney@davispolk.com
8
     Micah G. Block (SBN 270712)
9    DAVIS POLK & WARDWELL LLP
     1600 El Camino Real
10   Menlo Park, California 94025
     Telephone: (650) 752-2000
11   Facsimile: (650) 752-2111
     Email: micah.block@davispolk.com
12

13   Attorneys for Plaintiffs WhatsApp LLC and
     Meta Platforms, Inc.
14

15                              UNITED STATES DISTRICT COURT
16
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
17
                                       OAKLAND DIVISION
18
      WHATSAPP LLC, and
19    META PLATFORMS INC.,                        Case No. 4:19-cv-07123-PJH
20                                      )
                      Plaintiffs,       )         DECLARATION OF MICAH G.
21                                      )         BLOCK IN SUPPORT OF SUPPLE-
             v.                         )         MENTAL BRIEF IN SUPPORT OF
22                                      )         ADMINISTRATIVE MOTION FOR
                                                  AN ORDER REGARDING NSO’S
      NSO GROUP TECHNOLOGIES LIMITED )            DOCUMENT PRESERVATION
23    and Q CYBER TECHNOLOGIES LIMITED, )         OBLIGATIONS
24                                      )
                      Defendants.       )         Ctrm: 3
25                                      )         Judge: Hon. Phyllis J. Hamilton
                                        )
26                                      )
                                        )         Action Filed: October 29, 2019
27

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1           I, Micah G. Block, declare as follows:

2           1.      I am a partner of the law firm Davis Polk & Wardwell LLP and admitted to practice

3    before this Court. I am counsel for Plaintiffs WhatsApp LLC and Meta Platforms, Inc. (“Plain-

4    tiffs”) in the above-captioned action (the “Action”). I have personal knowledge of the facts set

5    forth below and, if called as a witness in a court of law, could and would testify competently

6    thereto.

7           2.      I submit this Declaration in Support of Plaintiffs’ Administrative Motion for an

8    Order Regarding NSO’s Document Preservation Obligations (Dkt. No. 197-1).

9           3.      On June 23, 2023, Plaintiffs filed their Administrative Motion for an Order Regard-

10   ing NSO’s Document Preservation Obligations. See Dkt. No. 197-1.

11          4.

12

13

14          5.

15          6.      On August 11 and 17, 2023, Plaintiffs conferred with NSO about the parties’ out-

16   standing discovery requests

17                     In related email correspondence on August 17, 2023, (attached at Exhibit B-1)

18   NSO’s counsel stated:

19

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23          7.      In related email correspondence on August 18, 2023, (attached at Exhibit B-2)

24   NSO’s counsel stated:

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                                                     1
     DECLARATION OF MICAH G. BLOCK IN SUPPORT OF ADMINISTRATIVE MOTION
     CASE NO. 4:19-CV-07123-PJH
     Case 4:19-cv-07123-PJH Document 202-8 Filed 08/21/23 Page 4 of 10



1           8.      Plaintiffs inquired whether NSO would consent to Plaintiffs’ filing a supplement to

2    the prior Administrative Motion. NSO’s counsel confirmed that NSO does not consent. Ex. B-1.

3           I declare under the penalty of perjury that the foregoing is true and correct.

4           Executed on the 21st day of August, 2023 at Menlo Park, California.

5
                                                By: /s/ Micah G. Block
6                                                   Micah G. Block
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     DECLARATION OF MICAH G. BLOCK IN SUPPORT OF ADMINISTRATIVE MOTION
     CASE NO. 4:19-CV-07123-PJH
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                EXHIBIT B-1
                       Case 4:19-cv-07123-PJH Document 202-8 Filed 08/21/23 Page 6 of 10




From:                         Aaron Craig <ACraig@KSLAW.com>
Sent:                         Thursday, August 17, 2023 18:00
To:                           Stotsky, Jonah J.; James Cone; Carla Christofferson; Joe Akrotirianakis; Christine Choi; Matt Noller;
                              James Unger
Cc:                           fb.nso
Subject:                      RE: WhatsApp LLC v. NSO Group Technologies Ltd.


HIGHLY CONFIDENTIAL AEO

Jonah:



We do not consent to your filing a supplement
                                                                                                                                             I’m available this
afternoon to discuss.



From: Stotsky, Jonah J. <jonah.stotsky@davispolk.com>
Sent: Thursday, August 17, 2023 2:52 PM
To: Aaron Craig <ACraig@KSLAW.com>; James Cone <JCone@KSLAW.com>; Carla Christofferson
<CChristofferson@KSLAW.com>; Joe Akrotirianakis <JAkro@KSLAW.com>; Christine Choi <CChoi@KSLAW.com>; Matt
Noller <MNoller@KSLAW.com>; James Unger <junger@kslaw.com>
Cc: fb.nso <fb.nso@davispolk.com>
Subject: WhatsApp LLC v. NSO Group Technologies Ltd.

CAUTION: MAIL FROM OUTSIDE THE FIRM
Aaron,

Given your statements during our most recent meet-and-confer
       , we intend to seek the Court’s leave to file a supplement to our prior administrative motion.

We intend to file tomorrow (August 18) by 6 PM Pacific. Please let us know by midday Pacific tomorrow if you
consent to our filing a supplement. We can be available to discuss at a mutually convenient time if you wish.


Regards,
Jonah


Jonah J. Stotsky
+1 212 450 4375 office
+1 646 413 5505 mobile
jonah.stotsky@davispolk.com


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                EXHIBIT B-2
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From:                Aaron Craig <ACraig@KSLAW.com>
Sent:                Friday, August 18, 2023 14:37
To:                  Block, Micah G.
Cc:                  fb.nso; K&S NSO
Subject:             RE: Sealing


Micah:



Please let me know if you have any further questions.



From: Block, Micah G. <micah.block@davispolk.com>
Sent: Thursday, August 17, 2023 8:19 PM
To: Aaron Craig <ACraig@KSLAW.com>
Cc: fb.nso <fb.nso@davispolk.com>; K&S NSO <K&SNSO@KSLAW.com>
Subject: Re: Sealing

CAUTION: MAIL FROM OUTSIDE THE FIRM
Aaron:

Please let us know by noon Pacific tomorrow if you have any further information


Thanks,
Micah


         On Aug 17, 2023, at 6:09 PM, Aaron Craig <ACraig@kslaw.com> wrote:


         Micah:




         Given that you waited six days after our conference to reach out about your concerns, I hope you will
         give us a chance to look into this before filing something immediately.

         Aaron

         From: Block, Micah G. <micah.block@davispolk.com>
         Sent: Thursday, August 17, 2023 5:39:17 PM
         To: Aaron Craig <ACraig@KSLAW.com>
         Cc: fb.nso <fb.nso@davispolk.com>
         Subject: RE: Sealing


                                                            1
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CAUTION: MAIL FROM OUTSIDE THE FIRM
Acknowledged, thanks. We’ll be careful about our obligations under the Court’s Protective
Order, as always.

Please remember to copy fb.nso on case-related correspondence.

Best,
Micah


From: Aaron Craig <ACraig@KSLAW.com>
Sent: Thursday, August 17, 2023 5:35 PM
To: Block, Micah G. <micah.block@davispolk.com>
Subject: Sealing

Micah: while I vehemently dispute the propriety of whatever it is you’re going to file,

        it needs to be filed under seal.

–––
Aaron Craig
Partner

T: +1 213 443 4311 | E: acraig@kslaw.com | Bio | vCard

King & Spalding LLP
633 West Fifth Street
Suite 1600
Los Angeles, CA 90071
<image001.png>

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